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Pursuant to Rule 701 of the North Carolina Workers' Compensation Rules, plaintiff's grounds for appeal "must be stated with particularity, including the specific errors allegedly committed by the Commissioner or Deputy Commissioner." Rule 701. "The penalty for non-compliance with the particularity requirement is waiver of grounds, and, where no grounds are stated, the appeal is abandoned." Wade v.Carolina Brush Mfg. Co., ___ N.C. App. ___, ___, 652 S.E.2d 713, 715;citing Roberts v. Wal-Mart Stores, Inc., 173 N.C. App. 740, 744,619 S.E.2d 907, 910 (2005).
Plaintiff's failure to file or articulate any statement of grounds for his appeal does not constitute a mere failure to strictly comply with Rule 701. Rather, plaintiff's failure constitutes total noncompliance with a fundamental rule of the Industrial Commission. Such noncompliance *Page 2 
cannot be waived under Rule 801 and disregards defendants' fundamental right to notice of the grounds for plaintiff's appeal. Wade v. CarolinaBrush Mfg. Co., supra.
As such, plaintiff's appeal to the Full Commission is hereby DISMISSED.
This the 7th day of April 2008.
S/___________________ DIANNE C. SELLERS COMMISSIONER
CONCURRING:
  S/___________________ DANNY LEE McDONALD COMMISSIONER
  S/___________________ CHRISTOPHER SCOTT COMMISSIONER *Page 1 